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                                           III. PARTIES

       The property is located HIDALGO County, Texas.

       Defendant WESTCHESTER is in the business of insurance in the State of Texas. The

insurance business done by WESTCHESTER in Texas includes, but is not limited to, the

following:

       x       The making and issuing of contracts of insurance with Plaintiff;

       x       The taking or receiving of application for insurance, including Plaintiff’s
               application for insurance;

       x       The receiving or collection of premiums, commissions, membership fees,
               assessments, dues or other consideration for any insurance or any part thereof,
               including any such consideration or payments from Plaintiff; and

       x       The issuance or delivery of contracts of insurance to residents of this state or a
               person authorized to do business in this state, including Plaintiff.

       Defendant, WESTCHESTER SURPLUS LINES INSURANCE COMPANY, is a foreign

surplus lines insurance company regularly engaged in the business of insurance in Texas, operating

for the purpose of accumulating monetary profit. Westchester regularly and systematically

conducts the business of insurance in the State of Texas but does not maintain an agent for service.

Accordingly, they may be served with process by serving Texas Commissioner of Insurance, 333

Guadalupe, Austin, Texas 78701, via certified mail, return receipt requested, who can forward

process to David Lupica, Chief Operating Officer, 11575 Great Oaks Way, Suite 200, Alpharetta,

GA 30022.

       Defendant, SCOTT SCHWARZLOSE, is an Adjuster and he may be cited with process by

Certified Mail, Return Receipt Requested at 17304 Preston Rd., Suite 740, Dallas, Texas 75252.

The Adjuster engages in the business of insurance in Texas.




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                           IV. NATURE OF THE CASE; RELIEF SOUGHT

        This is a first-party insurance case stemming from extensive damage to Plaintiff’s property

from a wind/hail event on or about June 20, 2018. Plaintiff seeks damages for breach of contract,

violations of the Texas Insurance Code, and common law bad faith. Plaintiff also seeks their

attorney’s fees, compensatory damages, enhanced damages, costs of court and pre- and post-

judgment interest. As required by Rule 47 of the Texas Rules of Civil Procedure, Plaintiff seeks

monetary relief over $1,000,000.

                                         V. BACKGROUND FACTS

        Plaintiff owns the insured property located at 1716 E. Griffin Parkway, Mission, Texas

78572. The property is covered by a policy of insurance, numbered FSF13716742 001. The Policy

covered Plaintiff’s property against loss by hail, wind and water damage, among other perils.

        As a consequence of the wind and hail, Plaintiff’s property sustained extensive damage on

or about June 20, 2018.

        Plaintiff gave timely notice to the Insurance Defendant.

        The Insurance Defendant assigned the claim to the adjusters to investigate, report on and

adjust the loss.

        Plaintiff provided information to the adjusters and opportunities for the adjusters to inspect

the property.

        The Insurance Defendant has failed and refused to pay Plaintiff in accordance with its

promises under the Policy and have wrongfully denied Plaintiff’s claim.

        Plaintiff has suffered property damage which has not been paid, even though the amounts

are well-established and have been provided to the Insurance Defendant and the adjusters.




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                VII. CLAIMS AGAINST ADJUSTER SCOTT SCHWARZLOSE

       Upon information and belief, Defendant Westchester does not maintain any adjusters in

the State of Texas. Therefore, they relied exclusively on the inspection and recommendations of

Defendant Schwarzlose to make their coverage and payment decisions. In other words,

Schwarzlose was the eyes and ears of Defendant Westchester. Defendant Schwarzlose was hired

to meet with Plaintiff, inspect the loss, make coverage recommendations and prepare an estimate

of the covered damages. Defendant Schwarzlose did not spend a sufficient amount of time at

Plaintiff’s property to conduct a proper investigation. Instead, he conducted an inadequate and

results oriented investigation. Defendant Schwarzlose ignored obvious damage that was covered

under the policy and instead looked for policy provisions to deny portions of the

damage. Defendant Westchester followed Defendant Schwarzlose’s recommendations which led

to the dramatic underpayment of the claim. Defendant Schwarzlose’s conduct is the basis of

Plaintiff’s allegations against the Defendants for violating the Texas Insurance Code.

       The Adjuster violated the Texas Insurance Code § 541.060 in the following manner:

       1. Failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of
          a claims with respect to which their liability has become reasonably clear; and

       2. Refusing to pay Plaintiff’s claims without conducting a reasonable investigation.

       The Adjuster’s conduct was “knowingly” under the Insurance Code. Therefore, Plaintiff

is entitled to treble damages.

                                   VIII. CONDITIONS PRECEDENT

       All conditions precedent for Plaintiff to recover under the Policy has been or will be met.

                                        IX. JURY DEMAND

       Plaintiff requests that a jury be convened to try the factual issues in this action.

                                 X. REQUEST FOR DISCLOSURE



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        Pursuant to the Texas Rules of Civil Procedure 194, Plaintiff requests that Defendants

provide the information required in a Request for Disclosure.

               XI. REQUESTS FOR PRODUCTION TO INSURANCE DEFENDANT

        Produce the complete claim file for Plaintiff’s property relating to or arising out of the loss

made the basis of this suit.

        Produce the complete underwriting file for Plaintiff’s property which is the subject of this

suit.

        Produce all emails, notes, and other forms of communication between Defendant, its

agents, adjusters, employees, or representatives relating to, mentioning, concerning or evidencing

Plaintiff’s property which is the subject of this suit.

        Produce the application for insurance and any notes, logs, statements or inspections created

or produced during the application process of the Policy at issue in this suit.

                XII. REQUEST FOR PRODUCTION TO SCOTT SCHWARZLOSE

        Produce SCHWARZLOSE’s complete claim or adjusting file for Plaintiff’s property

relating to or arising out of any damage which occurred.

        Produce all emails, notes, and other forms of communication between WESTCHESTER,

its agents, Adjusters, employees, or representatives and SCHWARZLOSE, and/or their agents,

Adjusters, representatives or employees relating to, mentioning, concerning or evidencing the

Plaintiff’s property which is the subject of this suit.

                                            XIII. PRAYER

        WHEREFORE, Plaintiff seeks the following relief:

        A.      The Court’s declaration that the Policy provides coverage for the damage to the

property, less only a deductible;




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                                     CAUSE NO. C-1315-19-B

MARIO’S BANQUET CONFERENCE                     §      IN THE DISTRICT COURT OF
CENTER                                         §
     Plaintiff,                                §
                                               §
v.                                             §      HIDALGO COUNTY, TEXAS
                                               §
WESTCHESTER SURPLUS LINES                      §
INSURANCE COMPANY and                          §
SCOTT SCHWARZLOSE                              §
     Defendants.                               §      93RD JUDICIAL DISTRICT

     DEFENDANT WESTCHESTER SURPLUS LINES INSURANCE COMPANY’S
             ANSWER TO PLAINTIFF’S ORIGINAL PETITION
        Defendant Westchester Surplus Lines Insurance Company (“Defendant”) files this Answer

to Plaintiff’s Original Petition and respectfully shows the court as follows:

                                          I.   General Denial

        Without denying the existence and contents of the insurance policy in question, and while

fully insisting upon each and every term, provision, condition, exclusion, and all paragraphs

thereof, and to the extent consistent therewith, Defendant files this general denial in accordance

with Rule 92 of the TEXAS RULES OF CIVIL PROCEDURE and denies generally each and

every, all and singular, the allegations contained in Plaintiff’s Original Petition and demands strict

proof thereof by a preponderance of the evidence in accordance with the laws of the State of Texas.

                             II.    Conditions Precedent Unsatisfied

        Defendant specifically denies that conditions precedent to recovery have been met. As a

result, this suit is premature and its filing may unnecessarily inflate the attorney’s fees and

expenses in connection with this suit.

                                   III.    Preservation of Rights
        Defendant preserves all of its rights under each policy at issue, specifically including the

right to appraisal.
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                                       IV.   Policy Defenses

       Defendant affirmatively asserts, for each policy made the basis of this lawsuit, the policy’s

terms, conditions, endorsements and exclusions as set forth in each policy, as those respective

terms, conditions, endorsements and exclusions may bar, in whole or in part, Plaintiff’s claims.

   The relevant policy is incorporated herein by reference as if copied verbatim. The following

policy provisions are a non-exhaustive list of the policy’s terms, conditions, endorsements, and

exclusions applicable to this claim:




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                         V.      Offset, Credit, and Limitation of Liability

       Pleading further for a separate and complete defense and in the alternative, pursuant to

Rule 94 of the TEXAS RULES OF CIVIL PROCEDURE, Defendant asserts the setoff, credit,

limit of liability, and other insurance limitation provisions contained the TEXAS INSURANCE

CODE and in each policy made the basis of this claim. Defendant is entitled to an offset or credit

against Plaintiff’s damages, if any, for monies previously paid under each policy at issue. Further,

Defendant’s liability, if any, is limited to the amount of the policy limits under each subject policy,

pursuant to the “Loss Settlement” and other clauses regarding the limit of liability and payment

for covered losses contained in each policy upon which Plaintiff brings this suit.

                                       VI.    Failure to Mitigate

       Pleading further for a separate and complete defense and in the alternative, Defendant avers

that Plaintiff has failed to fully and properly mitigate its damages in accordance with law and with

Plaintiff’s duties under the policy.

                                   VII.      Pre-Existing Damages

       Pleading further for a separate and complete defense and in the alternative, Plaintiff’s

alleged damages pre-existed the incident complained of and/or were caused by a subsequent

incident, all of which precludes any liability as to Defendant.

                         VIII.     Failure to Make Temporary Repairs

       Pleading further for a separate and complete defense and in the alternative, Plaintiff’s claim

is barred in whole or in part because the sole proximate cause of some of the damages Plaintiff

claims are Plaintiff’s own inaction and negligence in failing to make temporary repairs or

otherwise protecting the property after the initial loss.
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                                     IX.   No Breach of Contract

       Pleading further for a separate and complete defense and in the alternative, Plaintiff’s

causes of action are barred, either in whole or in part, because it has failed to state a claim upon

which relief can be granted. Specifically, Plaintiff failed to describe any particular facts or

circumstances supporting the alleged breach of the insurance contract(s) by Defendant.

                              X.      Extra-Contractual Claims Barred

       Pleading further for a separate and complete defense and in the alternative, Plaintiff’s

causes of action are further barred, either in whole or in part, because it has failed to state a claim

upon which relief can be granted, with regard to Plaintiff’s extra contractual claims. Specifically,

Plaintiff failed to describe particular facts or circumstances that transform alleged contractual

claims into a cause of action for alleged violations of the TEXAS INSURANCE CODE or an

alleged breach of good faith and fair dealing. Plaintiff failed to allege any specific conduct on the

part of Defendant which would subject Defendant to liability under Chapters 541 and/or 542 of

the TEXAS INSURANCE CODE or under the TEXAS DECEPTIVE TRADE PRACTICES ACT.

Defendant specifically states it did not, knowingly or otherwise, make any false, fraudulent or

negligent misrepresentations to Plaintiff.

                        XI.        Bona Fide and Legitimate Disputes Exist

       Pleading further for a separate and complete defense and in the alternative, bona fide and

legitimate disputes exist precluding Plaintiff’s recovery of damages under extra-contractual

theories of liability pursuant to any statutory or common law authority.

                           XII.      Acts or Omissions of Third Parties

       Pleading further for a separate and complete defense and in the alternative, Plaintiff’s

damages, if any, were proximately caused by the acts or omissions of third parties over whom

Defendant had no control or right to control and for whom Defendant had no responsibility.
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                           XIII.     Superseding /Intervening Cause

       Pleading further for a separate and complete defense and in the alternative, the incident and

resulting damages incurred by Plaintiff, if any, which Defendant specifically denies, were the

result of a superseding and/or intervening cause or causes thereby precluding Plaintiff from

recovering any damages against Defendant.

                           XIV.      Limitation of Punitive Damages

       Pleading further for a separate and complete defense and in the alternative, punitive

damages awarded, if any, pursuant to TEXAS CIVIL PRACTICE AND REMEDIES CODE

§41.001, et. seq., are subject to the statutory limit set forth therein, other applicable statutory

authority, and common law. Furthermore, any award of punitive damages would violate

Defendant’s due process rights guaranteed by the Fourteenth Amendment to the United States

Constitution and by Section 19 of Article 1 of the Texas Constitution unless Plaintiff proves

Defendant’s liability for punitive damages, and the amount of punitive damages, if any, by clear

and convincing evidence. Defendant respectfully shows regarding any allegations of malice and

exemplary or punitive damages as follows:

       (a)     Defendant avers the proper clear and convincing burden of proof as to alleged
               punitive damages, and for the appropriate definition of gross negligence to be
               submitted to the trier of fact, and relies on other statutory limitations afforded to them;
       (b)     Plaintiff’s claims for malice and exemplary or punitive damages is arbitrary,
               unreasonable, excessive, and in violation of Defendant’s rights to due process of
               law and equal protection under the Fifth and Fourteenth Amendments to the United
               States Constitution and under Article 1, Sections 13, 15, and 19 of the Texas
               Constitution;
       (c)     Plaintiff’s claims for malice and punitive or exemplary damages should be proved
               beyond a reasonable doubt;
       (d)     That exemplary or punitive damages cannot be awarded against Defendant because,
               in part, Defendant will be placed twice in jeopardy for the same conduct in violation
               of the United States and Texas Constitutions;
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        (e)    Plaintiff’s claims for malice and exemplary or punitive damages violates the
               separation of powers doctrine, since the Court and/or jury would usurp the
               exclusive power of the Legislature to define crimes and establish punishment;
        (f)    Plaintiff’s claims for malice and punitive or exemplary damages against Defendant
               should be determined only by Defendant’s actual subjective conscious indifference,
               the existence of which is denied, and not by any objective conscious indifference;
        (g)    Plaintiff’s claims for malice and exemplary or punitive damages must be assessed
               by the unanimous verdict of all jurors;
        (h)    Plaintiff’s claims for malice and exemplary damages is not based upon a clearly
               defined statutory enactment setting forth a specific mens rea and scope and limit of
               such awards, and therefore, the standard is unduly vague and does not meet the
               requirements of due process;
        Defendant is subjected to all the hazards and risks of what amounts to a fine with respect

to the Plaintiff’s claims for malice and exemplary or punitive damages, but Defendant received

none of the basic rights accorded to a criminal defendant when being subjected to possible criminal

penalties.

                                             XV.

        Defendant hereby reserves all rights to plead further herein.

                                 REQUEST FOR DISCLOSURE
        Pursuant to Texas Rules of Civil Procedure 194, Defendant requests that Plaintiff disclose,

within 30 days of the service of this request, the information or material described in Rule I 94.2(a)-

( 1).

                                             PRAYER
        WHEREFORE, PREMISES CONSIDERED, Defendant Westchester Surplus Lines

Insurance Company respectfully requests judgment of the court as follows:

        1.     That the court render a take-nothing judgment against the Plaintiff;

        2.     That Defendant recover all costs together with such other specific and general

               relief, both at law and in equity, to which Defendant may be justly entitled.
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                                           Respectfully submitted,

                                           PREIS PLC



                                              /s/ Frank A. Piccolo
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                                           Houston, Texas 77046
                                           Telephone:      (713) 355-6062
                                           Facsimile:      (713) 572-9129
                                           COUNSEL FOR DEFENDANT



                              CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing instrument was served in
accordance with the TEXAS RULES OF CIVIL PROCEDURE on this the 22nd day of April 2019, to all
known counsel of record as follows:

       Mr. Matthew R. Pearson
       mpearson@gplawfirm.com
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                                      /s/ Frank A. Piccolo
                                    Frank A. Piccolo
